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     Telephone: (559) 237-6000
 4
     Attorney for Defendant, VICTOR MURRAY
 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )                   CASE NO. 07-00156
10                               )
          Plaintiff,             )
11                               )                   STIPULATION AND
         v.                      )                   ORDER
12                               )                   TO CONTINUE SENTENCING
     VICTOR MURRAY,              )
13                               )
          Defendant.             )
14   ____________________________)
15            The parties hereto, by and through their respective attorneys, stipulate and
16   agree that the sentencing currently calendared for February 5, 2010, be
17   continued to February 26, 2010 at 9:00 a.m.
18            This continuance is necessitated as the parties are still in the process of
19   trying to gather documents contained in confidential Fresno County Superior Court
20   files.
21            The parties also agree that any delay resulting from this continuance shall
22   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
23   3161(h)(8)(A) and 3161(h)(8)(B)(I).
24
     DATED: January 25, 2010                 /s/ Kimberly Sanchez             __
25                                           KIMBERLY SANCHEZ
                                             Assistant United States Attorney
26                                           This was agreed to by Ms. Sanchez
                                             via email on January 20, 2010
27
28

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 1   DATED: January 25, 2010            /s/ Roger K. Litman    __
                                        ROGER K. LITMAN
 2                                      Attorney for Defendant
                                        VICTOR MURRAY
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 5
 6
 7
 8   IT IS SO ORDERED.

 9
     Dated:   January 25, 2010             /s/ Lawrence J. O'Neill
10   b9ed48                            UNITED STATES DISTRICT JUDGE
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